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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 DISPLAY TECHNOLOGIES LLC,

                             Plaintiff,
                                                     Civil Action No. 2:15-cv-1631
                v.
                                                     JURY TRIAL DEMANDED
 RICOH AMERICAS CORPORATION,

                             Defendant.


                      CORPORATE DISCLOSURE STATEMENT

        Plaintiff Display Technologies, LLC is a Texas limited liability company. Display

Technologies, LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.
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       DATED October 7, 2015.                         Respectfully submitted,


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                                                     ATTORNEYS FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of October, 2015, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Krystal L. Gibbens ___
                                              Krystal L. Gibbens
